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                                                                                         filed
                                                                                 U.S. DISTRICT COURT
                    IN THE UNITED STATES DISTRICT COURT                              '■ 'y- 'STA DIV.
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                    DUBLIN DIVISION                             2016 HAR 15 PM 2:26

UNITED STATES OF AMERICA,                                                     CLERK.
                                                                                 SO.OIST. OFGA.
                                                           Civil Action File Number:
V.
                                                           3:16-cr-00001-DHB-BKE
JEFFREY TYLER HAMILTON,
aka "FLAME",
TREVANTE COCKRELL,
aka "TRE",
DION LEE MACKEY,
ANTHONY SOUTHERLAND,
aka "WILLIE BUG",
REGINALD ELIJAH HARRELL,
DARRELL CORRELL HALL.


                                            ORDER


       The Notice for Leave of Absence of DANIEL M. KING, JR., pursuant to Local Rule 83.9
of the Local Rules for the United States District Court, Southern District of Georgia, having been
read and considered,

       IT IS HEREBY ORMREDdi^such leave is granted.
       Signed this /3^Jav of March, 2016, at ^usta, Georgia.

                                             DUDLEY BOt^N
                                             JUDGE, UNITED STATES DISTRICT COURT
